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                                                             January 22, 2025
Via ECF
Honorable LaShann DeArcy Hall
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

                      Re: USA v. Liu et al. 1:22-cr-00311-LDH

Dear Judge Hall:

         As you are aware, I am counsel to Defendant Fan Liu in the above-referenced criminal
matter. I have received the Court’s Order issued today, which adjourns the status conference
previously scheduled for January 23, 2025 at 2:30 p.m., to February 28, 2025 at 3:00 p.m. I write
this letter to confirm our consent to exclude all time until the next conference date.

       Thank you for your attention to this matter.

                                                      Sincerely,



                                                      Peter Katz
                                                      Counsel for Defendant, Fan “Frank” Liu
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